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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1

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In Re:                                                     Chapter 11

ALUMINUM SHAPES, LLC,                                      Case No. 21-16520 (JNP)

                            Debtor.



            CERTIFICATION OF DENNIS MARTINEAU IN SUPPORT OF NEW
             LIFE TRANSPORT PARTS CENTER’S LIMITED OBJECTION TO
            DEBTOR’S MOTION FOR AN ORDER APPROVING THE SALE OF
                THE DEBTOR’S BUSINESS OR ASSETS FREE AND CLEAR
           OF ALL LIENS, CLAIMS, ENCUMBRANCES AND OTHER INTERESTS

               Dennis Martineau hereby certifies to the Court as follows:

               1.     I am a senior vice president of Hinton Transportation Investments (“HTI”).

               2.     New Life Transport Parts Center (“New Life”) is a wholly owned subsidiary

 of HTI.

               3.     I make this Certification in support of New Life’s Objection to the Motion

 of Debtor Aluminum Shapes, LLC (“Debtor”) for an Order Approving the Sale of the Debtor’s




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Business or Assets Free and Clear of all Liens, Claims, Encumbrances and Other Interests (the

“Motion”).

               4.         I have knowledge of the facts set forth herein based upon my personal

knowledge and/or my review of the New Life’s records which are maintained in the ordinary

course of its business.

               5.         On or about July 7, 2020, New Life purchased the business assets of Fleet

Warehouse, Inc. (“Fleet”), including all dies owned by Fleet (the “Purchase”).

               6.         On June 26, 2020, in conjunction with the Purchase, Debtor’s authorized

agent executed an acknowledgement which confirmed that New Life was the owner of all dies

previously owned by Fleet and identified in a list attached to the acknowledgement (the

“Acknowledgement”).

               7.         After July 2020, New Life continued to purchase parts from the Debtor

which were fabricated on machines owned by the Debtor using the New Life Dies.

               8.         Annexed hereto as Exhibit A is a true and accurate copy of a letter of

enclosure from Fleet to Debtor and the signed Acknowledgement, together with the list of dies

owned by New Life (the “New Life Dies”).

               9.         Annexed hereto as Exhibit B are accurate copies of certain purchase orders,

invoices, communications and quotes issued between Fleet and the Debtor from 2014 through

2018, which further evidence Fleet’s (and now New Life’s) ownership and payment for the New

Life Dies.

               10.        It was common practice for Fleet to order and pay Debtor for dies as it

needed them.

               11.        Debtor has been paid in full for all of the New Life Dies.



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               12.     The parts produced by Debtor for New Life can only be produced using the

New Life Dies.

               13.     In order to fulfill contractual obligations to its customers, New Life must

own and control the New Life Dies.

               14.     Without ownership of the New Life Dies, New Life will not be able to fulfill

a majority of its customer contracts.

               15.     I am not aware of any agreement to transfer title of the New Life Dies to the

Debtor.

               16.     As set forth herein and in the Limited Objection filed contemporaneously

herewith, New Life objects to the Motion and reserves any and all rights with respect to the

Debtor’s proposed sale of the New Life Dies.

               I certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements by me are willfully false, I am subject to punishment




Dated: October 14, 2021                       /s/ Dennis Martineau
                                              Dennis Martineau
                                              Senior Vice President
                                              Hinton Transportation Investments




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